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                               EXHIBIT U


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
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         PRETRIAL SERVICES AGENCY for the DISTRICT of COLUMBIA



                          Release Rates for Pretrial Defendants within Washington, DC

The Pretrial Services Agency for the District of Columbia (PSA) assists judicial officers in both the Superior Court
of the District of Columbia and the United States District Court for the District of Columbia by conducting a risk
assessment for every arrested person who will be charged in court, identifying detention eligibility, and formulating
the appropriate release recommendation. This recommendation is based upon a number of factors, including the
arrestee’s demographic information, criminal history, and substance use and/or mental health information. For
defendants who are placed on conditional release pending trial, PSA provides supervision and treatment services
that reasonably assure they return to court and do not engage in criminal activity pending trial and/or sentencing. In
Washington, DC, we consistently find over 90% of defendants are released pretrial without using a financial bond.

Fundamental to the proper interpretation of the overall release rate is an understanding of the potential "release
points" during the life of a case. There are two primary points tracked in our data: “initial detention/release” and
“subsequent release.” Fiscal Year (FY) 2016 data (as of March 6, 2017) is used to demonstrate release rate
calculation procedures. This data is obtained electronically from CourtView, the case management system of the
Superior Court of the District of Columbia.

The initial detention/release point occurs at an arrestee’s initial appearance before a judicial officer at arraignment
or presentment. At this first appearance, the arrestee can be detained pursuant to one or more of DC’s statutory
preventive detention provisions, placed on conditional release with PSA supervision, or released on personal
recognizance (PR) with no PSA supervision. All releases resulting from this first appearance are collectively
referred to as "initial release." For FY 2016, the initial release rate for all cases (felony and misdemeanor) was 84%.

The remaining 16% of cases resulted in detention under one or more provisions of the preventive detention statute.
We refer to this as "initial detention." Under DC law, detained defendants are entitled to a hearing within three to
five days of initial appearance to determine whether there are conditions of release that will reasonably assure the
defendant’s future court appearance and public safety. The result of this hearing can be continued detention, release
to PR or PSA supervision, or dismissal of the charge. For FY 2016, of the 16% initially detained defendants, 64%
of the defendants were subsequently released, most at the time of the detention hearing. In some cases, subsequent
release can occur later during the pretrial period but prior to case disposition (e.g., if a felony case is not indicted
within the statutory timeframe).

When the initial and subsequent release rates are examined collectively, 94.33% of cases result in defendants being
released pretrial. The remaining 5.66% of cases resulted in detention until disposition of the case.

During FY 2016, a total of 20,880 criminal cases were filed. The table below shows the ultimate detention/release
status for each case:

                               Felony                        Misdemeanor                          Total
                        Number     Percentage            Number    Percentage           Number       Percentage
 Cases Filed             4,496        100%                16,384     100%                20,880          100%
 Initially Released      2,177      48.42%                15,434    94.20%               17,611         84.34%
 Initially Detained      2,319      51.58%                 950       5.80%                3,269         15.65%
      Subsequently       1,373      59.20%                 714      75.15%                2,087         63.84%
      Released
 Total Released           3,550          78.95%           16,148          98.56%        19,698         94.33%
 Pretrial
 Total Held                 946          21.04%             236            1.44%         1,182         5.66%
 Pretrial


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